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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     X
                                                    -X
FREE HOLDINGS INC.,

                       Plaintiff,
                                                             Index No. 1:22-cv-00881 (LGS)
       -against-


KEVIN McCOY, SOTHEBY’S
             SOTHEBY'S INC., NAMELESS                        STIPULATION
CORPORATION, AND ALEX AMSEL
A/K/A SILLYTUNA,

                       Defendants.
                                                     X

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

for plaintiff Free Holdings Inc. ("Plaintiff")
                                 (“Plaintiff”) and defendant Nameless (misidentified as "Nameless
                                                                                        “Nameless

Corporation” in the complaint) ("Nameless"),
Corporation"                   (“Nameless”), that:

       1.       Nameless’s counsel agrees to accept service of process of Plaintiffs
                Nameless's                                                Plaintiff’s Complaint

                            “Complaint”) on behalf of Nameless as of February 10, 2022; and
dated February 1, 2022 (the "Complaint")

       2.                                                                                Nameless’s
                With the exception of the defense of improper service of process, all of Nameless's

defenses are expressly preserved and not waived; and

      3.       Nameless’s time to answer, move or otherwise respond to the Complaint is extended
               Nameless's

through and including April 11, 2022.
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Dated: March 24, 2022



FALCON RAPPAPORT & BERKMAN PLLC          FRANKFURT KURNIT KLEIN + SELZ PC



                                         By: /s/ Jeremy S. Goldman
     /s/ Moish E. Peltz
By: Is/
         Moish E. Peltz
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                                                   for Defendant Nameless Corporation
                                         Attorneys for
         for Plaintiff
Attorneysfor Plaintiff




                                   SO ORDERED


DATED: ___________________
